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                                   4                                      UNITED STATES DISTRICT COURT

                                   5                                     NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     NEO4J, INC., et al.,                                  Case No.5:18-cv-07182-EJD
                                                           Plaintiffs,
                                   8
                                                                                               JUDGMENT
                                                    v.
                                   9
                                                                                               Re: Dkt. Nos. 118, 216, 248
                                  10     PURETHINK, LLC, et al.,
                                                           Defendants.
                                  11

                                  12          In accordance with the Court’s Orders at ECF Nos. 118, 216, and 248, the Court ENTERS
Northern District of California
 United States District Court




                                  13   Judgment as follows:

                                  14           1.        Judgment is entered in favor of Plaintiff Neo4j, Inc., on its First Cause of Action

                                  15   for Trademark Infringement, 15 U.S.C. § 1114, against Defendants for their infringement of the

                                  16   NEO4J Mark. ECF No. 118.

                                  17           2.        Judgment is entered in favor of Plaintiff Neo4j, Inc., on its Second Cause of Action

                                  18   for False Designation of Origin and False Advertising, 15 U.S.C. § 1125(a), against all

                                  19   Defendants. ECF No. 118.

                                  20           3.        Judgment is entered in favor of Plaintiff Neo4j, Inc., on its Third Cause of Action

                                  21   for Unfair Competition, 15 U.S.C. § 1125(a), against all Defendants for their infringement of the

                                  22   NEO4J Mark. ECF No. 118.

                                  23           4.        Judgment is entered in favor of Plaintiff Neo4j, Inc., on its Fourth Cause of Action

                                  24   for Unfair Competition, Cal. Bus. Prof. Code §§ 17200, et seq., against all Defendants. ECF No.

                                  25   118.

                                  26           5.        Judgment is entered in favor of Plaintiffs on their Eighth Cause of Action for

                                  27   Unauthorized Distribution of Altered Copyright Management Information, 17 U.S.C. § 1202(b)(1)

                                  28   and 17 U.S.C. § 1202(b)(3), against all Defendants. ECF No. 216.
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                                   1           6.    Plaintiffs are HEREBY AWARDED $597,000 in actual damages plus $57,288 in

                                   2   prejudgment interest, less the stipulated $26,000 deduction, and a permanent injunction as

                                   3   described in ECF No. 248. Defendants are jointly and severally liable for the payment of all such

                                   4   amounts. Each Party shall bear its own attorneys’ fees and costs.

                                   5          The Clerk of Court shall close the file in this matter.

                                   6          IT IS SO ORDERED.

                                   7   Dated: August 15, 2024

                                   8                                                    ______________________________________
                                                                                        EDWARD J. DAVILA
                                   9                                                    United States District Judge
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                                  12
Northern District of California
 United States District Court




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